
In re State Farm Mutual Automobile Insurance Company;- — Plaintiff; Applying for Writ of Certiorari and/or Review, Parish of Evangeline, 13th Judicial District Court Div. A, No. 63,403; to the Court of Appeal, Third Circuit, No. 02-804.
And, whereas, the Court has' this date, pursuant to Article 5, Section 5, of the Constitution of Louisiana, made and issued the following order, to wit — “ It is ordered that the writ of review issue; that the District Court and the Court of Appeal send up the record in Duplicate of the case; and that counsel for all parties be notified.”
*1082Now, therefore, the said District Court and the Court of Appeal is hereby commanded, in the name of the State of Louisiana and of this Honorable Court, to send up forthwith to this Court, at the City of New Orleans, the record in duplicate of the above entitled case.
Granted.
